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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JANE DOE,                                       :

                Plaintiffs,                     :     Case No. 2:20-cv-459
                                                      Judge James L. Graham
          v.                                    :     Chief Magistrate Judge Elizabeth P. Deavers
ANDREW K. MITCHELL, et al.,
                                                :
                Defendants.
                                                :


                                            ORDER

         The undersigned hereby recuses herself from the above-styled case. The Clerk is

DIRECTED to redraw the case for random reassignment to another United States Magistrate

Judge.

         IT IS SO ORDERED.


Date: March 31, 2020                            /s/ Elizabeth A. Preston Deavers
                                               ELIZABETH A. PRESTON DEAVERS
                                               UNITED STATES MAGISTRATE JUDGE
